                                                                               Case 3:17-cv-00939-WHA Document 2609 Filed 02/04/18 Page 1 of 2



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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                          8
                                                                          9   WAYMO LLC,                                                    No. C 17-00939 WHA
                                                                         10                  Plaintiff,
                                                                         11
United States District Court




                                                                                v.
                                                                         12
                               For the Northern District of California




                                                                              UBER TECHNOLOGIES, INC.;                                      AMENDED FINAL
                                                                         13   OTTOMOTTO LLC; and OTTO                                       PRETRIAL ORDER
                                                                              TRUCKING LLC,
                                                                         14                  Defendants.
                                                                         15                                                /

                                                                         16          FOR GOOD CAUSE and after a final pretrial conference, the following constitutes the
                                                                         17   final pretrial order and rulings on motions in limine:
                                                                         18          1.      This case shall go to a JURY TRIAL on FEBRUARY 5, 2018, at 7:30 A.M., and shall
                                                                         19   continue until completed on the schedule discussed at the conference. The issues to be tried
                                                                         20   shall be those set forth in the joint proposed pretrial order except to the extent modified by
                                                                         21   orders in limine. This final pretrial order supersedes the complaint and answer. Only issues
                                                                         22   expressly identified for trial remain in the case.
                                                                         23          2.      Rulings on the motions in limine are as stated in prior orders, including the prior
                                                                         24   final pretrial order (Dkt. No. 1885), and as stated on the record at the final pretrial conference
                                                                         25   on January 30, 2018.
                                                                         26          3.      Except for good cause, each party is limited to the witnesses and exhibits
                                                                         27   disclosed in the joint proposed pretrial order less any excluded or limited by orders in limine.
                                                                         28   Materials or witnesses used solely for impeachment need not be disclosed and may be used,
                                                                              subject to the Federal Rules of Evidence.
                                                                               Case 3:17-cv-00939-WHA Document 2609 Filed 02/04/18 Page 2 of 2



                                                                          1          4.      The stipulations of facts set forth in the joint proposed pretrial order are
                                                                          2   approved and binding on all parties.
                                                                          3          5.      A jury of TEN PERSONS shall be used.
                                                                          4          6.      Each side shall have SIXTEEN HOURS to examine witnesses (including direct
                                                                          5   examination, cross-examination, re-direct examination, re-cross examination, etc.). Each side
                                                                          6   shall also have ONE HOUR AND TEN MINUTES to present opening statements. Time allocated for
                                                                          7   closing arguments shall not count against these limits. If one side runs out of time despite being
                                                                          8   efficient, non-duplicative, and non-argumentative in the use of the allotted time, and it would be
                                                                          9   a miscarriage of justice to hold that side to these limits, then more time will be allotted.
                                                                         10          7.      The parties shall follow the Court’s current Guidelines for Trial and
                                                                         11   Final Pretrial Conference in Civil Jury Cases, separately provided and available on the Internet
United States District Court




                                                                         12   at http://www.cand.uscourts.gov, which guidelines are incorporated as part of this order.
                               For the Northern District of California




                                                                         13
                                                                         14          IT IS SO ORDERED.
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                                                                         16   Dated: February 4, 2018.
                                                                                                                                        WILLIAM ALSUP
                                                                         17                                                             UNITED STATES DISTRICT JUDGE
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